 Case: 5:17-cv-00162-JMH Doc #: 10 Filed: 08/20/18 Page: 1 of 2 - Page ID#: 38



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF KENTUCKY
                     CENTRAL DIVISION at LEXINGTON



AMY NOON,                               )
                                        )
     Plaintiff,                         )     Civil No. 5:17-cv-162-JMH
                                        )
v.                                      )
                                        )
AVANTEUSA, LTD. and                     )
LINK REVENUE RESOURCES, LLC             )                 ORDER
                                        )
     Defendants.                        )
                                        )



                               *****
     The plaintiff has filed a two Notices of Dismissal [DE 7 and

9], indicating that she is dismissing with prejudice all claims

against both defendants.       Accordingly, IT IS ORDERED:

     (1)    that   all   claims   in   this   action   are    DISMISSED    WITH

PREJUDICE, each party bearing his or its own costs and attorneys’

fees associated with this action.

     (2)    that all pending motions or requests for relief are

DENIED AS MOOT;

     (3)    that   all    deadlines    and    scheduled      proceedings    are

CONTINUED GENERALLY; and

     (4) that the Clerk shall STRIKE THIS MATTER FROM THE ACTIVE

DOCKET.

     This the 20th day of August, 2018.
Case: 5:17-cv-00162-JMH Doc #: 10 Filed: 08/20/18 Page: 2 of 2 - Page ID#: 39
